Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 1 of 7 PageID 485




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                        CASE NO.: 6:21-cv-2035


SHIRLEY BEZERRA STEEL and JEFFREY STEEL,
both individually and as parents and guardians
for S.B., a minor child,

      Plaintiffs,

v.

BREVARD COUNTY SCHOOL BOARD,
BREVARD COUNTY SCHOOL DISTRICT,
SUPERINTENDENT MARK MULLINS,
BREVARD COUNTY SCHOOL BOARD
CHAIRWOMAN MISTY BELFORD, CHERYL
McDOUGALL, JENNIFER JENKINS, KRISTEN
GODDEN, and NICHOLE DOUGHERTY,

      Defendants.
___________________________________________________/

             PLAINTIFFS’ MOTION FOR LEAVE TO AMEND
                THE SECOND AMENDED COMPLAINT

      Plaintiffs, SHIRLEY BEZERRA STEEL and JEFFREY STEEL, both

individually and as parents and guardians for S.B., a minor child, by

counsel, and pursuant to Federal Rule of Civil Procedure 15, hereby move

this Court for leave to file the attached Third Amended Complaint, and in

support thereof would state:

      1.    On December 7, 2021, this Court struck Plaintiff’s Complaint

for identifying S.B., a minor, by name.
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 2 of 7 PageID 486




      2.   On December 16, 2021, Plaintiffs filed their Amended

Complaint, to refile using S.B.’s initials in compliance with the Court’s

Order.

      3.   On January 31, 2022, Plaintiffs filed their Second Amended

Complaint, with the consent of Defendants.

      4.   In response, Defendant Kristen Godden filed her Motion to

Dismiss on March 11, 2022.

      5.   Defendants Brevard County School Board, Brevard County

School District, Superintendent Mark Mullins, Brevard County School

Board Chairwoman Misty Belford, Cheryl McDougall, and Jennifer

Jenkins filed Amended Motions to Dismiss on March 1, 2022.

      6.   Defendant Dougherty filed her Motion to Dismiss joining

Kristen Godden’s Motion to Dismiss on February 14, 2022.

      7.   After all Defendants had filed their Motions to Dismiss, the

parties agreed to extend the response deadline to March 22, 2022, and the

Court entered an Order to that effect.

      8.   Plaintiffs now move this Court to file the attached Third

Amended Complaint to include additional factual allegations regarding the

knowing and clear violations of law at issue and to include an additional

count against Jennifer Jenkins, one of the named Defendants.




                                     2
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 3 of 7 PageID 487




      9.       Federal Rule of Civil Procedure 15 provides that “a party may

amend its pleading [with] the court’s leave” and that “[t]he court should

freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).

      10.      Allowing Plaintiffs to file the Third Amended Complaint would

serve justice and promote the resolution of the case on its merits. Further,

there would be no substantial or undue prejudice, bad faith, undue delay,

or futility.

      11.      In light of the significant factual and procedural developments

since Plaintiffs commenced litigation on December 3, 2021, good cause

exists for amending the Complaint.

      12.      The additional allegations related to Ms. Jenkins’ describe

conduct occurring and continuing since the filing of the Second Amended

Complaint.

      13.      Defendants will not be prejudiced if the changes are permitted

at this stage of the proceedings.

      14.      The amendments are narrowly tailored to address the qualified

immunity defense raised by Defendants and recent factual developments.

In amendment is allowed, the action can proceed on the merits.




                                        3
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 4 of 7 PageID 488




                           MEMORANDUM OF LAW

   I.      Motion for Leave to Amend Standard

         Rule 15(a), Federal Rules of Civil Procedure (“Rule(s)”), establishes

that “[a] party may amend the party’s pleading once as a matter of course

at any time before a responsive pleading is served.” Thereafter, a party may

amend its pleading only upon leave of court or by obtaining written

consent of the opposing party. See Id. The rule provides that “leave shall

be freely given when justice so requires.” Id. As a result, “[t]here must be

a substantial reason to deny a motion to amend.” Laurie v. Ala. Ct. of Crim.

App., 256 F.3d 1266, 1269, 1274 (11th Cir. 2001) (per curiam).

Substantial reasons justifying a court’s denial of a request for leave to

amend include “undue delay, bad faith or dilatory motive on the part of

the movant, repeated failure to cure deficiencies by amendments

previously allowed, undue prejudice to the opposing party by virtue of

allowance of the amendment, futility of amendment, etc.” Foman v. Davis,

371 U.S. 178, 182 (1962); see also Maynard v. Bd. of Regents of the Div. of

Univers. of the Fla. Dep’t of Educ. ex rel. Univ. of S. Fla., 342 F.3d 1281,

1287 (11th Cir. 2003).

   II.     Argument

         Plaintiffs seek this Court’s leave to amend their Complaint to address

the qualified immunity defense and include an additional claim for


                                        4
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 5 of 7 PageID 489




defamation against Defendant Jennifer Jenkins. Should this Court grant

Plaintiffs’ Motion for Leave to Amend the Second Amended Complaint, the

Court will be in a position to properly evaluate any qualified immunity

defense raised by the various Defendants and will be apprised of recent

factual developments. The Third Amended Complaint, attached hereto as

Exhibit A, includes additional factual allegations in paragraphs 16-71,

establishing the Defendants acted with knowingly and clear violation of

the law. Beyond that, the Third Amended Complaint adds an additional

Count XV for defamation against Jennifer Jenkins. The remainder of the

Third Amended Complaint has not been altered from the Second Amended

Complaint.

      These revisions will not result in undue delay, bad faith, or prejudice

to other parties. In summary, there is no substantial reason to deny

Plaintiffs’ Motion for Leave to Amend the Second Amended Complaint.

      WHEREFORE, Plaintiffs respectfully request that this Court grant

their Motion for Leave to Amend the Second Amended Complaint.


      DATED this 22nd day of March, 2022.

                                   ANDERSONGLENN LLP

                                   /s/ Nicholas P. Whitney
                                   Gregory A. Anderson, Esquire
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                                     5
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 6 of 7 PageID 490




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                                   Attorneys for Plaintiff



              CERTIFICATE OF COUNSEL CONFERENCE
      Pursuant to M.D. Fla. Loc. R. 3.01, the undersigned certifies that on
March 18, 2022, the undersigned reached out to David Miklas, Esquire,
Attorney for Defendants, Godden and Dougherty, Terry J. Harmon,
Esquire and Robert J. Sniffen, Attorneys for Defendants Mullins, Belford,
McDougall, and Jenkins, via e-mail, regarding the requested relief herein.
Both counsel for Dougherty and Godden and remaining counsel objected
to the proposed amendment but have been notified of its imminent filing.
Plaintiffs further advised counsel for the Defendants of the nature of the
amendment concerning defamation and factual allegations relevant to
claims of qualified immunity.
                                   /s/ Nicholas P. Whitney, Esquire
                                   Nicholas P. Whitney, Esquire



                       CERTIFICATE OF SERVICE
      I hereby certify that on the 22nd day of March, 2022, a true and
correct copy of the foregoing was electronically filed in the U.S. District
Court, Middle District of Florida, using the CM/ECF system which will
send a notice of electronic filing to all counsel of record.


                                   ANDERSONGLENN LLP

                                   /s/ Nicholas P. Whitney
                                   Gregory A. Anderson, Esquire
                                   Trial Counsel
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                                     6
Case 6:21-cv-02035-CEM-GJK Document 42 Filed 03/22/22 Page 7 of 7 PageID 491




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                                     7
